                  Case 1:12-cr-00184-DAD-BAM Document 152 Filed 05/20/15 Page 1 of 2
 AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Eastern District
                                                       __________ Districtofof
                                                                            California
                                                                               __________

                     United States of America
                                v.                                          )
                       ALFONSO CORNEJO                                      )
                                                                            )    Case No: 1:12-cr-00184-AWI-4
                                                                            )    USM No: 68789-097
 Date of Original Judgment:                            07/08/2013           )
 Date of Previous Amended Judgment:                                         )    David Porter, Assistant Federal Defender
 (Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
         Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
 § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
 subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
 § 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
 and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
 IT IS ORDERED that the motion is:
            u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
 the last judgment issued) of   46                      months is reduced to 37 months                            .
                                              (Complete Parts I and II of Page 2 when motion is granted)


***If this sentence is less than the amount of time the defendant has already served as of
November 1, 2015, the sentence is reduced to a time served sentence. If the defendant is
released from custody before November 1, 2015, this order will be of no effect. In no event
is this Order to be understood as authorizing release prior to November 1, 2015 or
authorizing a term of imprisonment less than the term actually served on November 1, 2015.




 Except as otherwise provided, all provisions of the judgment dated                          07/10/2013              shall remain in effect.
 IT IS SO ORDERED.

 Order Date:                  05/20/2015                                                         /s/ ANTHONY W. ISHII
                                                                                                          Judge’s signature


 Effective Date:              11/01/2015                                        Honorable ANTHONY W. ISHII, U.S. District Judge
                      (if different from order date)                                                    Printed name and title
                  Case 1:12-cr-00184-DAD-BAM Document 152 Filed 05/20/15 Page 2 of 2
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)   Page 2 of 2 (Page 2 Not for Public Disclosure)

                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)


                                           ALFONSO CORNEJO
DEFENDANT:
CASE NUMBER: 1:12-cr-00184-AWI-4
DISTRICT:     Eastern District of California


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 23              Amended Total Offense Level: 21
Criminal History Category:    I               Criminal History Category:   I
Previous Guideline Range:     46 to 57 months Amended Guideline Range:     37                                                     to 46         months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
  ✔
  u The reduced sentence is within the amended guideline range.
  u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
  u The reduced sentence is above the amended guideline range.

III. ADDITIONAL COMMENTS
